 1     Brian T. Peterson, WSBA #42088                                  Honorable Whitman L. Holt
       K&L GATES LLP                                                                  Chapter 11
 2     925 Fourth Avenue, Suite 2900
       Seattle, WA 98104-1158
 3     (206) 623-7580

 4

 5

 6

 7                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF WASHINGTON
 8

 9                                                        Chapter 11
       In re
10                                                        Case No. 25-00240-WLH

11     AMITY COURT LLC,                                   DECLARATION OF THOMAS M.
                                                          CONSTANTINE IN SUPPORT OF
12                                      Debtor.           OBJECTION TO DEBTOR’S
                                                          EMERGENCY MOTION FOR
13                                                        ORDER (1) AUTHORIZING
                                                          INTERIM USE OF CASH
14                                                        COLLATERAL, (2) GRANTING
                                                          ADEQUATE PROTECTION, AND (3)
15                                                        SETTING FINAL HEARING

16             I, Thomas M. Constantine, declare as follows:

17             1.     I am the Executive Vice President and Chief Credit Officer for Axos Bank

18    (“Axos” or the “Bank”) a federally chartered savings bank. I am over the age of eighteen, and

19    I am competent in all ways to testify. The statements contained in this Declaration are based

20    upon my personal knowledge and review of Axos’ business records, which are kept in the

21    ordinary course of business.

22             2.     On September 22, 2021, Axos and the Debtor entered into a Secured Promissory

23    Note (the “Note”) evidencing a loan made by Axos to the Debtor in the principal amount of

24    $5,000,000 (the “Loan”). A true and correct copy of the Note is attached hereto as Exhibit A.

25    Axos is the holder of the Note.

26


                                                                               K&L GATES LLP
       DECLARATION OF THOMAS M. CONSTANTINE IN SUPPORT                   925 FOURTH AVENUE, SUITE 2900
                                                                             SEATTLE, WA 98104-1158
       OF OBJECTION TO DEBTOR’S EMERGENCY MOTION - 1                        TELEPHONE: +1 206 623 7580
                                                                            FACSIMILE: +1 206 623 7022
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 1             3.     The obligations of the Debtor under the Note are secured by a Deed of Trust,

 2    Assignment of Leases and Rents, Security Agreement and Fixture Filing (the “Deed of Trust”)

 3    dated September 22, 2021, and recorded in the King County Auditor’s records on September

 4    28, 2021, under recording number 20210928002100. A true and correct copy of the Deed of

 5    Trust is attached hereto as Exhibit B.

 6             4.     The Deed of Trust grants Axos a security interest in the Debtor’s real property

 7    located at 14400 Northeast Bellevue-Redmond Road, Bellevue, Washington 98007 (the “Real

 8    Property”) and any improvements thereto; all personal property located on, attached to, or used

 9    in connection with the Real Property; all leases of the Real Property; and all rents, income,

10    profits, and proceeds generated in connection with the Real Property (collectively, all such

11    personal property constituting the “Personal Property” and collectively with the Real Property

12    and the Bank’s other collateral, the “Collateral”). The Bank’s Collateral constitutes

13    substantially all of the assets of the Debtor.

14             5.     In addition, the Debtor entered into that certain Reserve Pledge and Security

15    Agreement dated September 22, 2021 (“Pledge Agreement”), whereby the Debtor agreed to

16    pledge certain cash reserve funds as additional security for its obligations under the Note. A

17    copy of the Pledge Agreement is attached hereto as Exhibit C.

18             6.     The Debtor is in default under the terms of the Note and Deed of Trust for failing

19    to pay amounts due and owing under the Note. The Debtor failed to make the payment due on

20    April 1, 2024, and all subsequent payments thereafter. In addition, the Note matured on October

21    1, 2024. The Debtor defaulted under the Note for its failure to pay the Note in full upon maturity.

22             7.     Under the terms of the Note, interest accrued on the unpaid principal from the

23    payment due date of the first such unpaid monthly installment at the default rate of 18%,

24    beginning on April 1, 2024. As of October 28, 2024, a total of $5,641,255.77 was due and

25    owing under the Note, not including legal fees. In addition, the Bank has advanced a total of

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 1    $56,527.90 for property taxes owed in connection with the Real Property. Such amounts are

 2    recoverable under the terms of the Note.

 3             8.    On November 4, 2024, Axos’ counsel sent a letter detailing the Debtor’s

 4    defaults, the amounts outstanding, and the Bank’s intent to apply the amounts in the reserve

 5    account described in the Pledge Agreement against the outstanding indebtedness owed to Axos.

 6    A copy of that letter is attached hereto as Exhibit D.

 7             9.    As of January 3, 2025, the Debtor owed the following amounts under the Note,

 8    not including attorneys’ fees:

 9
                     Principal ........................................................................ $ 4,825,000.00
10                   Interest .......................................................................... $ 726,157.51
                     Late Charges ................................................................. $        21,695.36
11                   Property Tax Advance .................................................. $ $56,527.90

12                   ESTIMATED TOTAL AMOUNT DUE .................... $5,629,380.77

13
               10.   Based on information provided by the Debtor, the Debtor has multiple
14
      commercial tenants at the Real Property. The rent revenues being generated by such tenancies
15
      constitute the Bank’s collateral but are being collected by the Debtor who has not made any
16
      payments under the Note since April of last year. In addition, on April 3, 2024, and September
17
      26, 2024, Axos was forced to advance significant funds for payment of real estate taxes that the
18
      Debtor failed to pay.
19
               11.   Interest accrues on the principal balance of the Note at the default rate of 18%,
20
      which is $2,412.50 per diem and $72,375.00 per month.
21
               12.   Under the appraisal commissioned by Axos, which is attached to the
22
      Declaration of Stanley Xu in Support of First Day Motions [Dkt. No. 10] as Exhibit A, the
23
      income capitalization approach to valuation resulted in a valuation of $4,610,000, and the sale
24
      comparison approach resulted in a valuation of $4,520,000. Only the land valuation approach
25

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 1    resulted in an appraised value of $7,780,000. The Debtor’s principal criticized the use of the

 2    land valuation approach in correspondence with Axos representative Cassidy Rodgerson.

 3             13.    On or about January 28, 2025, Axos filed a motion for the appointment of a

 4    general receiver over the Debtor in King County Superior Court, Case No. 25-2-02385-1. In

 5    opposition to the motion for appointment of a general receiver, Mr. Xu filed the declaration

 6    attached hereto as Exhibit E.

 7             14.    The Debtor’s proposed order authorizing use of cash collateral does not

 8    contemplate any adequate protection payments to Axos. According to the Debtor’s proposed

 9    budget, the Debtor will continue to pay its insider property manager company Longwell on

10    undisclosed terms. In addition, the Debtor will expend $4,790.00 in the last two weeks of

11    February, and $2,500 per month thereafter on repairs to the Real Property. The Debtor does not

12    provide an explanation for the necessity and reasonableness of these budgeted expenses.

13             15.    Under the circumstances, I do not believe that Axos’ interest in the Debtor’s

14    cash collateral, including rental income generated by the Real Property, is adequately protected

15    by the Debtor’s proposed order authorizing use of cash collateral and Axos does not consent to

16    the Debtor’s use of cash collateral on the terms proposed by the Debtor.

17             I declare under penalty of perjury under the laws of the United States of America that

18    the foregoing is true and correct.

19             EXECUTED this 24th day of February, 2025, at San Diego, CA.

20
                                                        ____________________________
21
                                                        Thomas M. Constantine
22

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                                                                                 K&L GATES LLP
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                                                                              FACSIMILE: +1 206 623 7022
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 1                                  CERTIFICATE OF SERVICE

 2           I certify that on February 24, 2025, I caused a copy of the foregoing Objection to be
      served by the Electronic Case Filing System for the United States Bankruptcy Court for the
 3
      Eastern District of Washington.
 4                                                        /s/Brian T. Peterson
                                                         Brian T. Peterson, WSBA #42088
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                                                                                 K&L GATES LLP
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             EXHIBIT A




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                                        SECURED PROMISSORY NOTE

   $5,000,000.00                                                                           September 22,2021

   L         Promise to Pav




   2.        Secured by Securitv Instrument

   This Note is secured by, among other things, that certain Deed of Trust, Assignment of Leases and Rent
   Security Agreement and Fixture Filing (as the same may hereinafter be amended, modified, restatefl,
   renewed or extended from time to time, the "Security lnstrument") of even date herewith, encumbering
   the Property (hereinafter defined).

   3.        Definitions

   For the purposes of this Note, the following terms shall have the following meanings:

   "Affiliate" shall mean, as to any Person, any other Person (i) which directly or indirectly through one dr
   more intermediaries controls, or is controlled by, or is under common controlwith, such Person; or (ii) whiclh,
   directly or indirectly, beneficially owns or holds ten percent (10%) or more of any class of stock or any othdr
   ownership interest in such Person; or (iii) ten percent (10%) or more of the direct or indirect ownership Qf
   which is beneficially owned or held by such Person; or (iv) which is a member of the family of such PersQn
   or which is a trust or estate, the beneficial owners of which are members of the family of such Person; Qr
   (v) which directly or indirectly is a general partner, controlling shareholder, managing member, officdr,
   director, trustee or employee of such Person

   "Business Day" shall mean any day other than a Saturday, Sunday, legal holiday or other day on whicjh
   commercial banks in New York, New York are authorized or required by law to close. All references in this
   Note to a "day" or a "date" shall be to a calendar day unless specifically referenced as a Business Day.

   "Closing Date" shall mean the earlier of the date Lender releases any part of the Loan proceeds to
   Borrower or the date in which the Security lnstrument is recorded in the official records of the county ln
   which the Property is located.

   "Default Rate" shall be the lesser of (i) eighteen percent (18%) and (ii) the maximum amount permitted lV
   law applicable to Lender.

   "Event of Default" shall have the meaning set forth in the Security lnstrument.

   "First lnterest Payment Date" shallmean November 1,2021.

   "Guarantor" shall mean: X & C Holdings LLC, a Delaware limited liability company, Stanley Xu artO
   Nanling Chen.

   "!ndex" shall mean the one month U.S. Dollar denominated London lnter-Bank Offered Rate ("LlBOR USDI)
   as published in a reference publication of general circulation (the "Reference Publication") two (2) Busine$s
   Days prior to, for the first payment due hlreunder, the Closing Date, and for each subsequent paymerlt,


   Secured Promissory Note                                                                                  Paoe   1


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                                                                                 Loan Number: 90099031245


   the applicable Rate Change Date, or if not published on such date, then most recently prior thereto. Thp
   initial Reference Publication shall be The Wall Street Journal. Lender, in Lender's sole discretion, shall havp
   the right to select a substitute Reference Publication at any time and from time to time by written notice tp
   Borrower delivered to Borrower not less than thirty (30) days prior to the Rate Change Date to which sucfr
   substitution shall first apply. lf LIBOR USD, or another lndex as then in effect, is no longer available, Lend$r
   shall choose a replacement index (a "Replacement lndex") in its sole and absolute discretion, whicfr
   selection shall be final, conclusive and binding on Borrower in all respects, and which shall for all purposeB
   be the lndex hereunder; provided, however, that the lnterest Rate shall not at any time be less than 5.00Yp
   per annum. Without limiting Lender in any way, Borrower acknowledges and agrees that either AmeribQr
   or Secured Overnight Financing Rate may be a Replacement lndex hereunder. Lender shall notify Borrow$r
   of any Replacement lndex not less than thirty (30) days prior to [hgfate Change Date to which sucfr
   Replacement lndex shallfirst apply. Borrower's lnitials lf\           lV o .
                                                               ?'/'-
   "lnterest Rate" shall mean a per annum interest rate that is the sum (rounded as necessary, to the neare$t
   1/1000 of 1o/o) of the Index and the Margin; provided, however, the lnterest Rate shall never be less thap
   5.00%, at any time and for the life of the Loan (it being understood that this rate, without limiting anf
   provision requiring a higher lnterest Rate, shallconstitute a minimum lnterest Rate).

   "Loan" shall mean the aggregate of all principal and interest payments that accrue or are due and payablp
   hereunder, together with any other amounts for which Borrower is liable under the Loan Documents.

   "Loan Documents" shall mean this Note, the Security lnstrument and any document executed ih
   connectionherewithortherewith. Fortheavoidanceofdou-bt,notwithstandinganyotherclauseofthisNot{,
   any "Guaranty", "Environmental lndemnity Agreement" or "ADA lndemnity Agreement" (including anf
   ride(s) or successor documents thereto) shall not be secured by the Security lnstrument.

   "Margin" shall mean Four and seventy-five hundredths percent (4.7SYo)

   "Maturity Date" shall mean Octob er 1, 2024, as the same may be extended in accordance with Sectioir
   4.5.

   "Patriot Act" shall mean United State Public Law 107-56, Uniting and Strengthening America by Providinp
   Appropriate Tools Required to lntercept and Obstruct Terrorism (USA PATRIOT ACT) Act of 2001, ap
   amended from time to time, together with all rules and regulations promulgated from time to time thereund$r.

   "Payment Date" shall mean the first day of each calendar month.

   "Person" means any individual, corporation, partnership, limited liability company, joint venture, estat{,
   trust, unincorporated association, any other person or entity, and any federal, state, county or municipfll
   government or any bureau, department or agency thereof and any fiduciary acting in such capacity of't
   behalf of any of the foregoing.

   "Property" shall mean that certain real property and improvements thereon owned by Borrower, togeth$r
   with all rights pertaining to such real property and improvements, located at the property commonly knowh
   as 14400 Northeast Bellevue-Redmond Road, Bellevue, Washington, 98007.

   "Rate Change Date" shall mean the first day of the month immediately following the month in which Closinp
   Date occurs and the same date each one (1) month thereafter untilthe Maturity Date (as defined herein).

   4.        Pavment of Princioal. lnterest and Loan Fee

   4.1       Pavments.

             (a)     lnterest Onlv Period. During the term of the Loan, Borrower shall pay consecutive monthfi
                     installmEnts of interest only at the lnterest Rate, as set forth in'section 5 hereof. Such


   Secured Promissory Note                                                                                   Page2
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                      interest only payments shall commence on the First lnterest Payment Date and shall bE
                      made thereatteion each Payment Date up until but exctudinq the Maturity Date.

             (b)      Pavments in Arrears. On the Maturity Date, all unpaid principal and accrued but unpaip
                      interest shall be due and owing in tutt. ntt interest shall be paiO in arrears, except that o!
                      the Closing Date, Borrower shall pre-pay all interest that will accrue from the date of fundin[
                      through the end of that month. Whenever any payment to be made under this Note or anf
                      other Loan Document shall be stated to be due on a day other than a Business Day, such
                      payment shall be made on the next succeeding Business Day, unless such neXt
                      succeeding Business Day would fall in the next Jalendar month, in which case such
                      payment be payable on the next preceding Business Day.

   4.2     lnterest Accrual. lnterest on the outstanding principal balance of this Note shall accrue at an annuAl
   rate equalto the lnterest Rate calculated on an Actual/360 Basis. "Actual/360 Basis" shall mean on thp
   basis of a 360-day year, charged based on the number of actual days elapsed for any whole or partidl
   month in which interest is being calculated.

   4.3    Loan Fee. On or prior to the Closing Date, Borrower shall pay to Lender $53,000.00 as the "Loaft
   Fee". The Loan Fee shall be deemed fully earned by Lender upon execution of this Note. ln addition tb
   the Loan Fee, Borrower shall also pay to Lender on or prior to the Closing Date, a $30.00 wire fee.1

   4.4      Application of Pavments. ln the absence of a specific determination by Lender to the contrary, Nll
   payments paiO Uy aorrower to Lender in connection with the obligations of Borrower under this Notean!
   under the other Loan Documents shall be applied in the following order of priority: (a) to amounts, oth$r
   than principal and interest, due to Lender pursuant to this Note or the other Loan Documents; (b) to accruep
   but unpaid interest on this Note; and (c)to the unpaid principal balance of this Note.

   4.5      Extension of Maturity Date. Borrower may elect to extend the Maturity Date one (1) time for a period
   of one (1) year (the Extension Option"). Borrower may exercise the Extenslon Option by providing writteh
   notice to Lender at least sixty (60) days prior to the Maturity Date and upon satisfaction of the followin$
   conditions, as determined by Lender, in its sole discretion:

             (a) Borrower pays to Lender an extension fee in the amount of 0.50% of the outstanding principfll
                   balance of the Loan on the date Borrower elects to extend the then Maturity Date;

             (b) No default or an Event of Default shall have occurred and be continuing during the periop
                   commencing on the date that Borrower delivers a notice of its exercise of the Extension Optioh
                   through and including the date immediately preceding the commencement of the extensioft
                   term;

             (c) Borrower pays to Lender all of Lender's out-of-pocket costs and expenses incurred ilt
                   connection wlth such extension, including the cost of title endorsements (evidencing title freb
                   of mechanics liens and any other endorsements required by Lender in its sole discretiorl)
                   required by Lender, recording, documentation, and attorney's fees.

             (d) Borrower shall have fully funded the reserve account to be maintained by Lender pursuant t!
                   the Reserve Pledge and Security Agreement, and, to the extent required by Lender, Borrowdr
                   shall have funded any additional interest reserve in an amount sufficient, in Lender's sole anp
                   absolute discretion, to make all payments under this Loan through the applicable extension.




   t NTD - .50Yoexit fee is waived if closing occurs on or priorto September 30,2021.


   Secured Promissory Note                                                                                     Page 3
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              (e) Borrower, each Guarantor, and Lender execute any and all modifications, extensioir
                    agreements, reaffirmation agreements or any other documents or instruments required b[
                    Lender, in form and substance mutually agreeable by all parties;

              (f) The representations and warranties contained in this Agreement and in all the Loa|r
                    Documents are true and correct as of the date the Loan would otherwise mature;

              (g) Following such extension, the Loan shall continue to be secured by the Deed of Trust and thp
                    other Loan Documents, subject to those exceptions to title approved by Lender at the time Qf
                    Loan closing, as evidenced by title insurance endorsements satisfactory to Lender (af
                    applicable), at Borrower's sole cost and expense;

              (h) No change shall have occurred in the financial condition of Borrower, Guarantor or thp
                    Property which would have, in Lender's sole and absolute discretion and judgment, a materiQl
                    adverse effect on the Loan, Borrower's ability to perform its obligations under the Loair
                    Documents, or Guarantor's ability to perform its obligations under the Environmental lndemnitit
                    or the Guaranty, as verified by Lender to its satisfaction; and

              (i) The Loan conforms with all underwriting guidelines then applicable to term commercial loan$
                    by Lender.

    5.         lnterest Rate Chanqe.

    Prior to the first Rate Change Date, Borrower will pay interest at the lnterest Rate based on the lndex
    (2) Business Days prior to the Closing Date. On the Rate Change Date, and on each Rate Change
    thereafter, Lender will determine the new interest rate and the changed amount of the monthly
    based on the lnterest Rate (i.e., based on the lndex then in effect). The new interest rate shall
    effective on each Rate Change Date. Borrower shall pay the amount of any new monthly interest
    beginning on the first Payment Date followinq any Rate Change Date. Lender will provide Borrower
    notice of any changes in the amount of the monthly payment due under this Note. However, if Lender
    not provided Borrower with prior notice of the monthly payment due on any Payment Date, then
    will pay on that Payment Date an amount equal to the monthly payment for which Borrower last
    notice. lf Lender at any time determines that Borrower has paid one or more monthly payments in
    incorrect amount because of the preceding sentence, or because Lender has miscalculated the
    rate or has othenrvise miscalculated the amount of any monthly payment, then Lender will give notice
    Borrower of such determination. lf such determination discloses that Borrower has paid less than the
    amount due, Borrower, within thirty (30) calendar days after receipt of the notice from Lender, will pay
    Lender the full amount of the deficiency. lf such determination discloses that Borrower has paid more
    the full amount due, then the amount of the overpayment will be credited to the next payment(s) of
    and interest due under this Note (or, if an Event of Default has occurred and is continuing,
    overpayment will be credited against any amount owing by Borrower to Lender).

              Late Charqe; Default Rate: NSF Charqes

    6.1      Late Charqe. lf any payment required hereunder is not paid on or before the tenth (1Oth) calendlr
    day of the month in which it is due, or the payment is returned to Lender as a result of insufficient funds i
    Borrower's bank account, Borrower shall pay a late or collection charge equal to five percent (5%) of th
    amount of such unpaid payment. Borrower acknowledges that Lender will incur additional expenses as
    result of any late payments hereunder, which expenses would be impracticable to quantify, and th{t
    Borrower's payments under this paragraph are a reasonable estimate of such expenses and do n(t
    constitute a penalty. The foregoing to the contrary notwithstanding, no late or collection charge shall bF
    payable by Borrower as a result of any delay in the payment of any sum due and payable on the Maturitf
    Date.




    Secured Promissory Note                                                                                  Page l4
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                                                                                    Loan Number: 90099031245


    6.2 Default Rate. Commencing upon an Event of Default and continuing until such Event of Defauft
                              Borrower, allsums owing on this Note shall bear interest until paid in fullat a ratb
    shall have been cured by-Default
    per annum equal to the           Rate.

    6.3 Non-Sufficient Funds Charqe. Any checks received that are returned to Lender marked tor "norf-
    sufficien@bydorrowerofaNSFfeeof$25orsuchotheramountthencharge[
    by Lender in accordance with applicable law

    7.         Prepavments

    7.1       Prepavment Pr:emium. Prepayment of the Loan otherthan: (i) as provided in Section 4.1 heredf
    wittr respect to-tfre interest pre-paid on ifre Closing Date; (ii) as a result'of application of insurance proceedl
    or a condemnation award received by Lender pursuant to the Security lnstrument; or (iii) a prepaymerit
    made after October 1, 2022, as long as Lender has not granted forbearance or othenruise altered thp
    payment schedule during the term of the Loan by written agreement with the Borrower prior to such datp
    (in a writing signed by an officer of Lender holding a title of Executive Vice President or higher), shall resu[t
    in Borrower owing to Lender a prepayment premium (the "Prepayment Premium"). The Prepaymerft
    Premium shall be equal to the original principal amount of the Loan multiplied by the Make Whole lntere$t
    Rate. The "Make Whole lnterest Rate" equals the lnterest Rate in effect at the time of prepaymerft
    multiplied by the quotient of (x) the remaining number of months until the first ('1st) anniversary of thp
    Closing Date and (y) twelve (12). The Prepayment Premium is due and payable to Lender on the date thdt
    any prepayment of the Loan is made.

    7.2        PREPAYMENT WAIVER. BORROWER HEREBY EXPRESSLY WAIVES THE RIGHT Td
    PREPAY THE INDEBTEDNESS EVIDENCED HEREBY IN WHOLE OR PART WITHOUT PENALTY, ANP
    EXPRESSLY AGREES TO PAY THE AMOUNTS REQUIRED HEREIN, INCLUDING THE PREPAYMENJI-
    PREMIUM, IN THE EVENT OF AN ACCELERATION UPON THE OCCURRENCE OF A DEFAULT OR
    OTHERWISE, INCLUDING, WITHOUT LIMITATION, UPON OCCURRENCE OF A TRANSFER OF THE
    PROPERry SECURING THIS NOTE AND THE OTHER SECURITY INSTRUMENTS EVIDENCING THF
    LOAN, WHETHER VOLUNTARILY OR INVOLUNTARILY OR OTHERWSE. WHETHER PREPAYMENIT
    IS VOLUNTARY OR INVOLUNTARY, IN NO EVENT SHALL THE AMOUNT OF THE PREPAYMEN]T
    PREMIUM RESULT IN A REDUCTION OF THE OUTSTANDING PRINCIPAL BALANCE, ACCRUED ANP
    UNPAID INTEREST OR OTHER AMOUNTS DUE AS OF THE DATE OF PREPAYMENT. BORROWER
    AGREES THAT THE PREPAYMENT CONSIDERATION REQUIRED HEREIN IS REASONABLE.
    BORROWER HAS GTVEN tNDtVtDUAL WETGHT TO THE CONSTDERATTON tN TH|S TRANSACTTOilT
    FOR THIS WAIVER AND AGREEMENT. ANY SUCH PREPAYMENT SHALL NOT RESULT IN A
    REAMORTIZATION, DEFERRAL, POSTPONEMENT, SUSPENSION OR WAIVER OF ANY AND ALI
    OTHER PAYMENTS DUE UNDER THIS NOTE. BORROWER HAS INITIALED THIS PROVISION OF
    THE NOTE EXPRESSLY WAIVING THE RIGHT TO PREPAY THE NOTE EXCEPT AS EXPRESSLT
    PERMITTED HEREIN.

    Borrower lnitials: //d              lNc
                             ".-
    8.        Taxes and lnsurance

    8.1       Borrower shall pay to Lender on each Payment Date an amount determined by Lender that will
    result in the deposit with Lender of sufficient funds to pay all such Taxes at least thirty (30) days prior tp
    their respective due dates, and (ii) an amount determined by Lender that will result in the deposit with
    Lender of sufficient funds to pay all insurance premiums at least thirty (30) days prior to the expiration Qf
    the applicable insurance policies. "Taxes" shall mean all real estate and personal property taxe$,
    assessments, water rates or sewer rents, maintenance charges, impositions, vault charges and licensp
    fees, now or hereafter levied or assessed or imposed against all or part of the Property. Such amounts will
    be transferred by Lender to an account maintained by Lender (the "Tax and lnsurance Account"). Lendeir
    will (a) apply funds in the Tax and lnsurance Account to payments of Taxes and insurance premiump
    required to be made by Borrower, provided that Borrower has promptly supplied Lender with notices of all
    Taxes and insurance premiums due, or (b) reimburse Borrower for such amounts within thirty (30) dayf

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   after Lender's receipt of evidence of payment. ln making any payment relating to Taxes and insurancE
   premiums, Lender may do so according to any bill, statement or estimate procured from the appropriatd
   public office (with respect to Taxes) or insurer or agent (with respect to insurance premiums), without inquirf
   into the accuracy of such bill, statement or estimate or into the validity of any tax, assessment, sale,
   forfeiture, tax lien or title or claim thereof. lf Lender determines in its reasonable judgment that the fund$
   in the Tax and lnsurance Account will be insufficient to pay (or in excess of) the Taxes or insurancd
   premiums next coming due, Lender may increase (or decrease) the monthly contribution required to b$
   made by Borrower to the Tax and lnsurance Account. Notwithstanding the foregoing, nothing containe$
   herein shall cause Lender to be deemed a trustee of said funds or to be obligated to pay any amounts iip
   excessoftheamountoffundsdepositedwithLenderpursuanttothisSection.         Lendershallnotbeobligate(
   to pay or allow any interest on any sums held by Lender pending disbursement or application hereunderf
   and Lender may impound or reserve for future payment of Taxes and insurance premiums such portion of
   such payments as Lender may in its absolute discretion deem proper, applying the balance on the principfl
   of or interest on the obligations secured hereby.

   8.2      Should Borrower fail to deposit with Lender (exclusive of that portion of said payments which ha$
   been applied by Lender on principal of or interest on the indebtedness secured hereby) sums sufficient tQ
   fully pay such Taxes or insurance premiums, at least thirty (30) days before delinquency thereof,
   may, at Lender's election, but without any obligation so to do, advance any amounts required to make
   the deficiency, which advances, if any, shall be secured by the Security lnstrument and shall be
   to Lender, or at the option of Lender the Lender may, without making any advance whatever, apply
   sums held by it upon any obligation of Borrower secured by the Security lnstrument.

   8.3 As security for payment of the Loan and the performance by Borrower of all other terms, cond
   and provisions of the Loan Documents, Borrower hereby pledges and assigns to Lender, and grants
   Lender a security interest in, all Borrower's right, title and interest in and to the Tax and lnsurance
   Borrower hereby grants to Lender a continuing security interest in, and agrees to hold in trust for the bene
   of Lender, allfunds in the Tax and lnsurance Account. Borrower shall not, without obtaining the prior
   consent of Lender, further pledge, assign or grant any security interest in the Tax and Insurance
   or permit any lien to attach thereto, or any levy to be made thereon, or any financing statements,
   those naming Lender as the secured party, to be filed with respect thereto. This Note is, among
   things, intended by the parties to be a security agreement for purposes of the UCC. Upon the
   and during the continuance of an Event of Default, Lender may apply any sums in the Tax and I
   Account in any order and in any manner as Lender shall elect in Lender's discretion without seeking
   appointment of a receiver and without adversely affecting the rights of Lender to foreclose the lien of
   Security lnstrument or exercise its other rights under the Loan Documents. The Tax and lnsurance
   shall not constitute trust funds and may be commingled with other monies held by Lender. Upon
   in full of this Note, all remaining funds in the Tax and lnsurance Account, if any, shall be promptly di
   to Borrower.

             Maximum Rate Permitted Bv Law

   Neither this Note nor any of the other Loan Documents may be construed to require the payment or permif
   the collection of, in each case, any interest or any late payment charge to be charged to Borrower in exces$
   of the maximum rate permitted by law applicable to Lender as a federally chartered savings association. l[
   any such excess interest or late payment charge is provided for under this Note or any of the other Loarf
   Documents or if this Note or any of the other Loan Documents shall be adjudicated to provide for suc{t
   excess, neither Borrower nor Borrower's successors or assigns shall be obligated to pay such excess, an$
   the right to demand the payment of any such excess shall be and hereby is waived, and this provision shafl
   control any other provision of this Note or any of the other Loan Documents. lf Lender shall collect amount$
   that are deemed to constitute interest and that would increase the effective interest rate to a rate in exces$
   of the maximum rate permitted by law to be charged to Borrower, all such amounts deemed to constitutQ
   interest in excess of the maximum legal rate shall, upon such determination, at the option of Lender, bt
   returned to Borrower or credited against the outstanding principal balance of this Note.




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   10.       Acceleration

    lf (a) Borrower shall fail to pay when due any sums payable under this Note; (b) any other Event of Defaul[
    shall occur (taking into account the provisions of Section 14 hereofl; or (c) any other event or conditioip
    shall occur which, under the terms of the Security Instrument or any other Loan Document, gives rise to d
    right of acceleration of sums owing under this Note, then Lender, at its sole option, shall have the right t$
    declare all sums owing under this Note immediately due and payable, provided, however, if the Security
    lnstrument or any other Loan Document provides for the automatic acceleration of payment of sums owin$
    under this Note, all sums owing under this Note shall be automatically due and payable in accordance witl'lr
    the terms of the Security Instrument or such other Loan Document.

   11.       Recourse

    Borrower shall have full recourse Iiability to Lender under all of the Loan Documents for the payment of
    the Loan and for the performance of all other obligations of Borrower under the Loan Documents.

   12.       Disbursement of Loan Proceeds, Limitation of Liabilitv

   Borrower hereby authorizes Lender to disburse the proceeds of the Loan, after deducting any and all fee$
   owed by Borrower to Lender in connection with the Loan to Borrower. With respect to such disbursementl
   Borrower understands and agrees that Lender does not accept responsibility for errors, acts or omission$
   of others, including, without limitation, the escrow company, other financial institutions, communication$
   carriers or clearinghouses through which the transfer of Loan proceeds may be made or through whicl']r
   Lender receives or transmits information, and no such entity shall be deemed Lender's agent. Ar 4
   consequence, Lender shall not be liable to Borrower for any actual (whether direct or indirect)i
   consequential or punitive damages, whether or not (a) any claim for such damages is based on tort of
   contract, or (b) either Lender or Borrower knew or should have known of the likelihood of such damages iri
   any situation.

   13.       Notices.

   All notices and other communications that are required or permitted to be given to a party under this Not$
   shall be in writing and shall be sent to such party, either by personal delivery, by overnight delivery servicel
   or by certified first-class mail, return receipt requested. AII notices and other communications shall includQ
   reference to Lender's loan number. Any party may change its address for notice hereunder to any othei
   location within the continental United States by giving thirty (30) days' notice to the other parties in thd
   manner set forth above. All such notices and communications shall be effective upon receipt, or in the casd
   of notice via certified first-class mail, return receipt requested, upon the earlier of (i) receipt or (ii) five day$
   of mailing.

   The initial addresses of the parties shall be:

                                  LENDER:
                                  Axos Bank
                                  9205 West Russell Rd., Suite 400
                                  Las Vegas, NV 89148
                                  Attn: Loan Servicing

                                  WITH A COPY TO:
                                  Axos Bank
                                  4350 La Jolla Village Drive, Suite 100
                                  San Diego, CA92122
                                  Attn: Legal Department




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                                   BORROWER:
                                   Amity Court LLC
                                   12151201h Ave NE, Suite 204
                                   Bellevue, WA 98005
                                   Attn: Stanley Xu and Nanling Chen


   14.        Non-Trustor Borrower

   lf any Borrower is not also a grantor under the Security lnstrument, such Borrower hereby makes all
   representations and warranties in favor of Lender contained in Article 5 of the Security lnstrument, all
   covenants contained in Sections 6.4,6.5,6.6,6.7, 6.23,6.24 of the Security lnstrument, and allindemnitie$
   in favor of Lender contained in Section 6.18 of the Security lnstrument, jointly and severally with the grantorl
   ln addition, if any Borrower is not also a grantor under the Security lnstrument, any reference to the Grantof
   in the description of the Events of Default thereunder shall also be deemed to reference any such Borrowerl

   15.        ilntentionallvOmittedl

   16.        Assiqnment

   This Note may be freely transferred and assigned by Lender, its successors, endorsees and assignsj
   Borrower's ability to assign, delegate, or othenrvise, directly or indirectly, transfer its rights or obligation$
   with respect to, in each case, its indebtedness, duties under the Loan Documents, or to be released fronJ
   liability under this Note as a result of such an assignment, delegation, or other transfer shall be governed]
   in each case, by Section 6.14 of the Security lnstrument regarding the "Transfer" of the grantor's interesf
   therein (it being understood that "Transfer" hls the meaning-ascrinlO to it in Section A.lql ot the Securityf
   lnstrument). The Borrower shall not "Transfer" its interest under any of the Loan Documents in violation ot
   the Loan Documents including provisions of Section 6.14 of the Security lnstrument, such provisions bein!
   construed for the purposes of this Section of the Note as if the Borrower hereunder were the grantor unde(
   the Security lnstrument. Any "Transfer" by the Borrower of its interest under any of the Loan Documentg
   contrary to this provision shall be null and void ab initio. For clarity in construing these provisions, th{
   grantor under the Security Instrument is referred to as "Borrower" in the text of the Security lnstrument.

   17.        Brokers and Financial Advisors




   and nonmonetary obligations set forth under the Loan Documents.

   18.        Compliance With Laws

   Borrower hereby represents, warrants and covenants that:

   18.1 Neither Borrower nor Guarantor nor any of their respective Affiliates is or will be a Person (a) thai
   is listed in the Annex to, or is otherwise subject to the provisions of, Executive Order 13224 issued on
   September 24,2001 ("EO13224'), (b) whose name appears on the United States Treasury Department's
   Office of Foreign Assets Control ("OFAC') most current Iist of "specifically Designated National and Blocked
   Persons," (c) who commits, threatens to commit or supports "terrorism," as defined in EO13224, or (d) who
   is othenryise affiliated with any entity or Person listed above (any and all parties or Persons described in
   subparts (a) through (d) above are herein referred to as a "protribited ierson"). Neither Borrower nor]


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   Guarantor nor any of their respective Affiliates will knowingly (i) conduct any business, nor engage in any'
   transaction or dealing, with any Prohibited Person, including, but not limited to, the making or receiving o[
   any contribution of funds, goods, or services to or for the benefit of a Prohibited Person, or (ii) engage in of
   conspire to engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, ol
   attempts to violate, any of the prohibitions set forth in EO13224. Borrower shall deliver (from time to time)
   to Lender any such certification or other evidence as may be requested by Lender in its sole and absolut4
   discretion, confirming each such representation.

    18.2 Neither Borrower nor Guarantor, nor to the knowledge of Borrower, any agent or other eersori
   acting on behalf of the Borrower or Guarantor, has (a) directl-y or indirectly, useO aiy funds for unlawful
   contributions, gifts, entertainment or other unlawful expenses retated to foreign or domestic political activityl
   (b) made any unlawful payment to foreign or domestic government officials or employees or to any foreigrlr
   or domestic political parties or campaigns from corporate funds, (c) failed to disclose fully any contributiorh
   made by Borrower or Guarantor (or made by any Person acting on its behalf of which Borrower or Guarantof
   is aware) which is in violation of law, or (d) violated in any material respect any provision of the Foreigr'f
   Corrupt Practices Act of 1977 (15 U.S.C. SS 78dd-1, et seq.), as amended ('FCPA'). Each of Borrowef
   and Guarantor shall cause any agent or other Person acting on its behalf to comply with the FCPA, includinq
   maintaining and complying with all policies and procedures to ensure compliance with this act.

   19.       General Provisions

   1   9.1 Joint and Several Liabilitv. lf this Note is executed by more than one Person or entity as Borrower!
   trreootigamnorentityshallbejointandseveral'NoPersonorentityshallbeamer{
   accommodation maker, but each shall be primarily and directly liable hereunder.

   19.2 Waiver of Presentment. Except as otherwise provided in any other Loan Document, Borrowel
   hereby@emand'noticeofdishonor,noticeofdefaultordelinquency,noticeoi
   acceleration, notice of nonpayment, notice of costs, expenses or losses and interest thereon, and notice o[
   interest on interest and late charges

   19.3 Delav in Enforcement. No previous waiver or failure or delay by Lender in acting with respect t{
   the terms of tnrs Note or the Security lnstrument shall constitute a wiiver of any breach, default orfailur$
   of condition under this Note, the Security lnstrument or the obligations evidenced or secured thereby. {
   waiver of any term of this Note, the Security lnstrument or of any of the obligations evidenced or secured
   thereby musi be made in writing signed by Lender, shall be timiteO to the express terms of such waiverl
   and shall not constitute a waiveiot iny suOsequent obligation of Borrower. The acceptance at any time bd
   Lender of any past due amount shall not be deemed to be a waiver of the right to require prompt paymenf
   when due of any other amounts then or thereafter due and payable.

    19.4    Time of the Essence. Time is of the essence with respect to all Borrower's obligations hereundei
   involving: (i) the payment of money and (ii) providing notice to Lender.

   19.5 Governinq Law. This Note and the other Loan Documents shall be governed by and construe{
   under the internal laws of the State of Washington, except to the extent preempted by federal laws,

   19.6 Consent to Jurisdiction. Borrower irrevocably submits to the jurisdiction of: (a) any state or federal
   court sitting in tfre State of Washington over any suii, action, or proceeding, brought'by Borro*er againsi
   Lender, arising out of or relating to this Note or the Loan evidenced hereby; (b) any state or federal courf
   sitting in the state where the Property is located or the state in which Borrower;s'printipal place of busines$
   is located over any suit, action or proceeding, brought by Lender against Borrower, arising out of or relatin$
   to this Note or the Loan evidenced hereby; and (c) any state court sitting in the county of the state wher4
   the Property is located over any suit, action, or proceeding, brought by Lender to exercise its STATUTOR{
   POWER OF SALE under the Security lnstrument or any action brought by Lender to enforce its rights witt]r
   respect to the Property. Borrower irrevocably waives, to the fullest extent permitted by law, any objectioip
   that Borrower may now or hereafter have to the laying of venue of any such suit, action, or proceedin$


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   19.7       Heirs. Successors and Assigns.

              (a) All of the terms, covenants, conditions and indemnities of Borrower contained in this Note an{
                   the other Loan Documents shall be binding upon the heirs, successors and assigns of
                   Borrower and shall inure to the benefit of the successors, indorsees and assigns of Lenderf
                   The foregoing sentence shall not be construed to permit Borrower to assign the Loan of
                   otherwise directly or indirectly transfer its interest therein contrary to Section 14 hereof.

              (b) Lender may assign its right, title, and interest in any or all of the Secured Obligations (a$
                   defined in the Security lnstrument) arising under this Note to any Person and any sucil
                   assignee shall succeed to all of Lender's rights with respect thereto. Upon such assignmentl
                   Lender shall be released from all responsibility for the Collateral (as defined in the Securitf
                   Instrument) to the extent same is assigned to any transferee. Lender may from time to tim{
                   sell or otheruvise grant participations in any of the Secured Obligations (as defined in thQ
                   Security lnstrument) and the holder of any such participation shall, subject to the terms of an$
                   agreement between Lender and such holder, be entitled to the same benefits as Lender with
                   respect to any security for the Secured Obligations (as defined in the Security Instrument) irf
                   which such holder is a participant.

   19.8 Severabilitv. lf any term of this Note, or the application thereof to any Person or circumstance{
   shall, to any extent, be invalid or unenforceable, the remainder of this Note, or the application of such ter(
   to Persons or circumstances other than those as to which it is invalid or unenforceable, shall not be affecte{
   thereby, and each term of this Note shall be valid and enforceable to the fullest extent permitted by law.

   19.9 Further Assurances. Borrower shall, upon demand by Lender, execute, acknowledge (it
   appropriate) and deliver any and all documents and instruments and do or cause to be done all further act$
   reasonably necessary or appropriate to effectuate the provisions hereof.

   19.1 O Attornevs' Fees. ln the event it is necessary for Lender to retain the services of an attorney or
   other party to enforce or to commence any legal action to enforce the terms of this Note, the Security{  "ny{
   lnstrument, or any of the other Loan Documents, or any portion hereof or thereof, Borrower agrees to pay{
   to Lender, in addition to damages or other relief, any and all costs and expenses incurred in connectior!
   therewith.

   '19.11 Disclalmers. The relationship of Borrower and Lender under this Note and the other Loaf
   Documents is, and shall at all times remain, solely that of borrower and lender, and Lender neitherf
   undertakes nor assumes any responsibility or duty io Borrower or to any third party with respect to thd
   Property. Notwithstanding any other provisions of this Note and the other Loan Documents: (i) Lender iq
   not, and shall not be construed to be, a partner, joint venturer, member, alter ego, manager, controllin!
   Person or other business associate or participant of any kind of Borrower, and Lender does not intend tq
   ever assume such status; (ii) lntentionally Omitted; and (iii) Lender shall not be deemed responsible for ort
   a participant in any acts, omissions or decisions of Borrower.

   19.12 Separate and Communitv Propertv. Any married Person who executes this Note or any other Loari
   Document as a Borrower agrees that any money judgment which Lender obtains pursuant to the terms of
   this Note or any other Loan Document may be collected by execution upon any separate property o{
   community property, in each case, of that Person.

   19.13 lnteqration. lnterpretation. TheLoanDocumentscontainorexpresslyincorporatebyreferencethl
   entire agreement of the parties with respect to the matters contemplated therein and supersede all prioq
   negotiations or agreements, written or oral. The Loan Documents shall not be modified except by writter!
   instrument executed by all parties. Any reference in any of the Loan Documents to the Property shalf


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   include all or any part of the Property. Any reference to the Loan Documents
   renewals or extensions now or hereafter approved by Lender in writing.

   19.14 Commercial Purpose. Borrower represents that the indebtedness evidenced by the Note is bein$
   incurred by Borrower solely for the purpose of carrying on a business or commercial enterprise, and not fof
   personal, family or household purposes.

    20.       WAIVER OF RIGHT TO JURY TRIAL.

   BORROWER HEREBY EXPRESSLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY AN\i
   APPLICABLE LAWS, ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND, ACTION OR CAUSq
   oF ACTTON (1) ARTSTNG UNDER THIS NOTE OR ANy OTHER LOAN, DOCUMENT (2) lN ANY WAY
   CONNECTED WTH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO
   OR ANY OF THEM WITH RESPECT TO THIS NOTE OR ANY OTHER LOAN DOCUMENT OR THd
   TRANSACTIONS RELATED HERETO OR THERETO, IN EACH CASE WHETHER NOW EXISTING OR
   HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT OR TORT OR OTHERWSEI
   BORROWER HEREBY AGREES AND CONSENTS THAT ANY SUCH CLAIM, DEMAND, ACTION Oq
   CAUSE OFACTION SHALL BE DECIDED BY COURTTRIALWITHOUTAJURY. BORROWER HEREBY
   AGREES THAT THE PROVISIONS CONTAINED HEREIN HAVE BEEN FAIRLY NEGOTIATED ON ANi
   ARM'S-LENGTH BASIS AND HAS BEEN AFFORDED THE OPPORTUNIry TO HAVE ITS LEGA+
   COUNSEL CONSENT TO THE MATTERS CONTAINED HEREIN.

    21. PATRIOT ACT. Lender hereby notifies Borrower that pursuant to the requirements of the patriot
   Act, it is required to obtain, verify and record information that identifies Borrower, which information include$
   the name and address of Borrower and other information that will allow Lender to identify Borrower irf
   accordance with the Patriot Act. Borrower will provide such information promptly upon the request of Lendef.

   22.                                                                               ENTS
   EXTEND C                                                           REPAYM
   ENFORCEABLE UNDER WASHINGTON LAW.




                                          ISTGNATURE PAGE FOLLOWSI




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              lN WTNESS WHEREOF, Borrower has duly executed this Note to be effective the day and yea
   first above written.



                                   BORROWER:

                                   Amity Court LLC, a Washington limited liability company

                                        By: X & C Holdings LLC, a Delaware limited liability company
                                        Its MangginO Member, panager, and Governor


                                       ru'an@ber                          and Manager for X & c Holdings fLC
                                                          t-
                                        ey,/4
                                                               Member and Manager for X & C Holdings LLQ




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                 EXHIBIT C




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             EXHIBIT D




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November 4, 2024                                                 Brian T. Peterson
                                                                 brian.peterson@klgates.com

                                                                 T 206 370 7948




VIA CERTIFIED FIRST-CLASS MAIL
AND OVERNIGHT DELIVERY SERVICE

Amity Court, LLC
14400 NE Bel Red Rd, Suite 204
Bellevue, WA 98007
Attn: Stanley Xu and Nanling Chen

Amity Court, LLC
c/o Incorp Services, Inc., Registered Agent
4505 Pacific Hwy E, Suite C-2
Fife, WA 98424

AND VIA EMAIL TO

Ragan Powers, Esq.
David Wright Tremaine
920 Fifth Avenue, Suite 3300
Seattle, WA 98104-1610
raganpowers@dwt.com

       Re:    90099031245 (the “Loan”)
              14400 NE Bellevue-Redmond Road,
              Bellevue, WA 98007 (the “Property”)

   NOTICE OF DEFAULT, APPLICATION OF PLEDGE, AND RESERVATION OF
                              RIGHTS

Dear Stanley Xu and Nanling Chen,

We represent Axos Bank. Axos Bank (“Noteholder” or “Lender”) is the current holder of that
certain Secured Promissory Note dated September 22, 2021 (the “Note”), evidencing a loan in the
principal amount of $5,000,000.00 made by Axos Bank to Amity Court LLC, a Washington
limited liability company (“Borrower”). According to the terms of the Note and Article 7 of the




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 Security Instrument, 1 the Loan has been in default on account of your failure to make the payment
 due on April 1, 2024, and all subsequent payments (the “Payment Defaults”). In addition, the
 Maturity Date of the Note was October 1, 2024, meaning that all amounts under the Note are due
 and owing in full. The Loan is in default based on your failure to pay the Note in full upon maturity
 (the “Maturity Default”). Lender also hereby provides notice that the under the terms of the
 Guaranty dated as of September 22, 2021, Guarantor is in default of its obligation to provide
 Lender with 2023 tax returns for guarantors Stanley Xu and Nanling Chen.

 Pursuant to the terms of the Note, interest accrued on the unpaid principal from the payment due
 date of the first such unpaid monthly installment at the default rate of 18% (the “Default Rate”).
 As the Payment Defaults commenced on April 1, 2024, interest accrues at the Default Rate from
 and after that date.

 Separately, Noteholder hereby notifies Borrower that it has elected to exercise its right under
 Section 6 of that certain Reserve Pledge and Security Agreement dated September 22, 2021,
 between Amity Court LLC and Axos Bank (“Pledge Agreement”), to apply all amounts in the
 reserve account described in the Pledge Agreement against the outstanding indebtedness owed to
 Noteholder.

 Demand is hereby made that Borrower make payment of the entire indebtedness in immediately
 available funds. As of October 28, 2024, and before application of the amounts in the reserve
 account, total amount of indebtedness, including interest, escrow advances and late fees was
 $5,641,255.77. This does not include legal fees, nor does it include interest, escrow advances, late
 charges, and other fees that accrued under the Loan after October 28, 2024 (the total amount owing
 being the “Payoff Amount”). Default interest accrues on the principal balance of the Loan at the
 rate of $2,500 per day. Please take notice that interest at the Default Rate is accruing, and will
 continue to accrue, until such time that the indebtedness is paid in full. If you have any questions
 regarding the Payoff Amount, please contact the Noteholder’s representative at 877-351-2265 Ext.
 1512 to obtain the exact amount. The Payoff Amount should be made in certified funds and mailed
 to the Noteholder at the following address: Axos Bank, 4350 La Jolla Village Drive, Suite 140,
 San Diego, CA 92122 Attn: Special Assets.

 Neither this notice nor any statement by or on behalf of Noteholder as to the amount due and owing
 under any of the Loan Documents: (i) shall constitute a waiver of any rights of Noteholder to
 collect any additional amounts to which Noteholder may be lawfully entitled pursuant to the terms
 of the Loan Documents or otherwise at law or in equity; or (ii) shall constitute an offer to settle or
 waive any rights of Noteholder under any of the Loan Documents.

 Other defaults and/or Events of Default may exist. Nothing contained herein, including, but not
 limited to: (i) this notice; (ii) any delay or failure by Noteholder to exercise any of its rights and
 remedies under the Loan Documents or applicable law with respect to any default or Event of
 Default that may have occurred or may occur under the Loan Documents; or (iii) any discussions,
 actions, negotiations, correspondence or documentation which has been or may be drafted or

 1
     All capitalized terms set forth herein shall have the definitions given to them in the Note.




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 entered into by Noteholder or its agents, including, but not limited to acceptance of any partial
 payment, shall (a) constitute a waiver of, or acquiescence in, any default or Event of Default, now
 or hereafter existing under the Loan Documents or any related document, (b) constitute a
 modification or amendment of any of the terms of any of the Loan Documents, (c) constitute an
 election of remedies regarding any Event of Default, (d) constitute a waiver of or an agreement to
 forbear from exercising, any rights and remedies Noteholder may have under the Loan Documents,
 at law, or in equity, or (e) impair any power, right or privilege granted to Noteholder under the
 Loan Documents or under applicable law, in equity or otherwise.

 Noteholder hereby expressly reserves each and every right and remedy to which it is entitled. You
 are hereby notified that Noteholder shall strictly enforce the Loan Documents in accordance with
 their respective terms. This default notice does not meet the statutory requirements for starting a
 nonjudicial foreclosure pursuant to Ch. 61.24 RCW. Noteholder reserves the right to issue a
 separate statutory notice that meets those requirements.

 You may, if required by law or your loan documents, have the right to cure the Default after the
 acceleration of the mortgage payments and prior to the foreclosure sale of your Property if all
 amounts past due are paid within the time permitted by law. However, the Noteholder shall be
 entitled to collect all fees and costs incurred in pursuing any of its remedies, including but not
 limited to reasonable attorney’s fees, to the full extent permitted by law. Further, you may have
 the right to bring a court action to assert the non-existence of a default or any other defense you
 may have to acceleration and foreclosure.

 You may request a copy of the Loan documents, including the Note, deed of trust or mortgage,
 any assignment of the deed of trust or mortgage, as applicable, and your payment history.

 If you are a service member, or the dependent of a service member, you may be entitled to certain
 additional protections under the federal Servicemembers Civil Relief Act.

 Please be advised that any acceptance by the Noteholder, or any of its respective representatives,
 of any amounts less than the amount due and owing on the Loan is not intended, and shall not be
 deemed, to constitute a waiver of any of the Noteholder’s rights, remedies or recourse under the
 Loan documents, or at law or in equity, and application of such payments is not intended, nor shall
 it be deemed, to be a modification, rearrangement or extension of the Loan documents. Any such
 payments will be applied in such order as the Noteholder may elect in its sole and absolute
 discretion, without any waiver by the Noteholder of its right to pursue any of its rights and remedies
 under the Loan documents, or at law or in equity.

 Nothing set forth herein is intended, nor shall it be deemed, to modify, limit, release, reduce or
 waive any of the Noteholder’s rights, remedies and/or privileges under the Loan documents, or at
 law or in equity, all of which are specifically reserved.

 THIS COMMUNICATION IS AN ATTEMPT TO COLLECT A DEBT AND ANY
 INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. HOWEVER, TO
 THE EXTENT THAT ANY OF YOUR OBLIGATIONS HAVE BEEN DISCHARGED OR




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 ARE SUBJECT TO AN AUTOMATIC STAY IN A BANKRUPTCY PROCEEDING, THIS
 NOTICE IS FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND
 DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO
 COLLECT ANY SUCH OBLIGATION. IF APPLICABLE, THIS NOTICE IS GIVEN
 PURSUANT TO 11 U.S.C. §362(b)(11).

 NOTICE IS HEREBY GIVEN THAT ORAL AGREEMENTS OR ORAL
 COMMITMENTS TO LOAN MONEY, EXTEND CREDIT, MODIFY LOAN TERMS, OR
 TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT
 ENFORCEABLE UNDER WASHINGTON LAW.

 If you have questions or would like to discuss these issues, please contact me.

 Sincerely,




 Brian T. Peterson



 cc:    Client




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                 EXHIBIT E




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 1                                                 FILED
                                             2025 FEB 06 09:00 AM
 2                                               KING COUNTY
                                            SUPERIOR COURT CLERK
 3                                                  E-FILED
                                            CASE #: 25-2-02385-1 SEA
 4

 5

 6
                       SUPERIOR COURT OF THE STATE OF WASHINGTON
 7
                                 IN AND FOR KING COUNTY
 8
      AXOS BANK,
 9
                               Plaintiff,                   No. 25-2-02385-1 SEA
10
            v.                                              DECLARATION OF
11
                                                            STANLEY XU IN OPPOSITION
12 AMITY COURT LLC,                                         TO MOTION TO APPOINT
                                                            RECEIVER
13                             Defendant.

14

15          I, Stanley Xu, declare as follows:
16         1.      I am over 18 years old and competent to testify to the matters set forth in this
17 declaration.

18         2.      Amity Court is a limited liability company that owns a multi-tenant low rise
19 office building in Bellevue Washington. My wife Nanling Chen and I indirectly own Amity

20 Court LLC

21         3.      Amity Court. Amity Court purchased the property located at 14400 NE Bel Red
22 Road in Bellevue, Washington in September 2021 for $9.5 million. The purchase price was

23 financed in part with a $5 million loan from Axos Bank.

24         4.      At the time Amity Court bought the property, rental income from tenants covered
25 operating expenses and interest on the Axos Bank loan. The financial performance of the

26 property deteriorated as businesses and employees continued to work remotely after Covid. In

27
                                                                               Davis Wright Tremaine LLP
      DECLARATION OF STANLEY XU - 1                                                     L AW O FFICE S
                                                                                  920 Fifth Avenue, Suite 3300
      (Case No. 25-2-02385-1)                                                       Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11      Doc 14      Filed 02/24/25    Entered 02/24/25 18:45:47                Pg 104 of 127       E-1
 1 general, the market for office space deteriorated as a result of the remote work environment,

 2 resulting in higher vacancy rates and lower rents. By 2023, a number of good tenants either left

 3 when their leases expired (so they could continue work remotely) or they negotiated lower rent

 4 based on market conditions. Amity Court managed to keep its building occupancy above market

 5 levels, but at much lower rents than when the building was purchased. Starting in January 2023,

 6 rental income did not cover operating costs and interest payments on the Axos loan. Amity Court

 7 obtained funding from my other real estate companies to make up the difference and keep the

 8 Axos Bank loan current.

 9         5.       Recognizing that a low-rise office building is not the highest and best use for its

10 property, Amity Court applied for a permit from the City of Bellevue to redevelop the property.

11 It submitted an application on July 5, 2022, which will allow the current building to be

12 demolished and replaced with 215 multifamily units. Changing the use of the property will

13 increase the value of Amity Court’s property.

14         6.       Based on anticipated receipt of the permit, Amity Court began marketing the

15 property in April 2024. I negotiated with several potential buyers for several months and

16 executed a confidential letter of intent to sell the property this week with a reputable multifamily

17 development company, who has a long list of successful multifamily construction projects in the

18 Puget Sound area. The purchase price will permit Amity Court to pay Axos Bank in full. I expect

19 the transaction to close by May 31, 2025. Appointment of a receiver could disrupt the sale,

20 causing substantial damage to Amity Court.

21         7.       Interest rate. Under the original loan documents with Axos Bank, the interest rate

22 was tied to an “Index.” At the time the loan was made, the “Index” was the “one month U.S.

23 Dollar denominated London Inter-Bank Offered Rate (“LIBOR USD”). The “Margin” was

24 4.75%, which means that the interest rate on the loan was the LIBOR USD plus 4.75%. Because

25 LIBOR USD changed every month, the total interest due on the loan changed every month. At

26 some point, LIBOR USD was not longer used and Axos Bank changed the index that it used to a

27 different index which also changes frequently.
                                                                                Davis Wright Tremaine LLP
      DECLARATION OF STANLEY XU - 2                                                      L AW O FFICE S
                                                                                   920 Fifth Avenue, Suite 3300
      (Case No. 25-2-02385-1)                                                        Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11       Doc 14     Filed 02/24/25     Entered 02/24/25 18:45:47                Pg 105 of 127       E-2
 1         8.      I have asked Axos Bank several times for a detailed accounting of the payments

 2 made by Amity Court including the applicable interest rates and application of payments made

 3 by Amity Court. Axos ignored my requests and as it has in the Motion, only given top level

 4 numbers without any backup or detail.

 5         9.      Escrow Account. The loan documents also provide for an escrow account for

 6 property taxes. In other words, Amity Court paid money each month into an escrow account out

 7 of which Axos Bank pays real estate taxes. Axos Bank was responsible for payment of property

 8 taxes out of the escrow account. Simply put, Axos Bank’s allegation that it had to pay taxes for

 9 Amity Court misstates the loan documents. Axos Bank was obligated to pay the real estate taxes

10 from the real estate tax escrow account for Amity Court.

11        10.      In October 2024, I wrote to Axos Bank to confirm that it would be making the

12 payment for real estate taxes as it had done previously. Axos Bank confirmed that it made the

13 payment. Axos Bank did not inform Amity Court that there was a shortfall in the escrow account

14 or that Amity Court needed to make the payment (or make up any shortfall).

15        11.      Failure to Provide Monthly Statements. Beginning in the spring of 2022, Axos

16 Bank stopped sending monthly mortgage statements to Amity Court showing how much interest

17 was due. I wrote to Axos Bank representatives on several occasions, requesting the mortgage

18 statements so Amity Court could make the appropriate payments. By way of example, I wrote to

19 the following employees of Axos Bank: Gary Wong on May 17, 2024; Samuel Gendershot on

20 July 3, 2024; and Cassidy Rogerson on July 10, 2024. Copies of my emails to them are attached

21 as Exhibits 1, 2, and 3. Amity Court never received the requested statements detailing the interest

22 due on the loan.

23        12.      Extension of Loan. Under Section 4.5 of the Promissory Note, Amity Court was

24 entitled to extend the maturity date of the loan for one year, from October 1, 2024, through

25 October 1, 2025. Amity Court made the required request for an extension by a letter dated July

26 15, 2024. A copy of the letter is attached as Exhibit 4. Axos Bank never responded to the letter

27 and never advised Amity Court what, if anything, it needed to do to consummate the extension.
                                                                              Davis Wright Tremaine LLP
      DECLARATION OF STANLEY XU - 3                                                    L AW O FFICE S
                                                                                 920 Fifth Avenue, Suite 3300
      (Case No. 25-2-02385-1)                                                      Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11      Doc 14     Filed 02/24/25     Entered 02/24/25 18:45:47               Pg 106 of 127       E-3
 1         13.       I talked with an Axos Bank representative by phone on October 18, 2024. The

 2 representative told me that Axos Bank was not interested in having its loan with Amity Court

 3 and demanded that I pay it off.

 4         14.       Axos Bank is not at risk of suffering a loss on this property. On September 30,

 5 2024, Axos Bank obtained an appraisal of the property from Colliers. Colliers valued the

 6 property at $7,780,000, which provides a nearly $2.8 million cushion for the bank. A copy of the

 7 transmittal letter is attached as Exhibit 5.

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      [rest of page intentionally blank]
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                                                                               Davis Wright Tremaine LLP
      DECLARATION OF STANLEY XU - 4                                                     L AW O FFICE S
                                                                                  920 Fifth Avenue, Suite 3300
      (Case No. 25-2-02385-1)                                                       Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11        Doc 14     Filed 02/24/25    Entered 02/24/25 18:45:47               Pg 107 of 127       E-4
               I declare under penalty of perjury under the laws of the State of Washington that the
 1
      foregoing is true and correct.
 2

 3             DATED this 5th day of February 2025.

 4

 5

 6                                                        Stanley Xu

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      DECLARATION OF STANLEY XU - 5                                              Davis Wright Tremaine LLP
                                                                                          L AW O FFICE S
      (Case No. 25-2-02385-1)                                                       920 Fifth Avenue, Suite 3300
      4918-5071-0551v.1 0050033-000455                                                Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11             Doc 14   Filed 02/24/25    Entered 02/24/25 18:45:47              Pg 108 of 127       E-5
 1                                   CERTIFICATE OF SERVICE

 2          I certify under penalty of perjury under the laws of the State of Washington that on the

 3 date of this certificate, I caused the document to which this certificate is attached to be delivered

 4 to the following as indicated:

 5    Brian T. Peterson                                 ☐ Messenger
      K&L Gates LLP                                     ☐ U.S. Mail, postage prepaid
 6    925 Fourth Avenue, Suite 2900                     ☐ Federal Express
      Seattle, WA 98104-1158
 7                                                      ☐ Fax
      brian.peterson@klgates.com
                                                        ☒ E-Mail
 8
      Attorneys for Plaintiff Axos Bank                 ☒ ECF (KCSC E-Service)
 9
            Executed in Seattle, Washington this 5th day of February, 2025.
10
                                                          /s/ Sherri Parsons
11
                                                          Sherri Parsons, Legal Assistant
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                                                                                Davis Wright Tremaine LLP
      DECLARATION OF STANLEY XU - 6                                                      L AW O FFICE S
                                                                                   920 Fifth Avenue, Suite 3300
      (Case No. 25-2-02385-1)                                                        Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
     25-00240-WLH11       Doc 14     Filed 02/24/25     Entered 02/24/25 18:45:47                Pg 109 of 127       E-6
                     EXHIBIT 1


25-00240-WLH11   Doc 14   Filed 02/24/25   Entered 02/24/25 18:45:47   Pg 110 of 127   E-7
Stanley Xu

From:                           Stanley Xu
Sent:                           Friday, May 17, 2024 12:21 PM
To:                             Gary Wong
Cc:                             Jing You
Subject:                        RE: AMITY COURT LLC, A WASHINGTON LIMITED LLC - 90099031245


Hi Gary,

We never received the mortgage statement even though the mailing address is correct. Please make sure they
mail it out or send it in electronical format.

Thank you for your help!

Stanley Xu
President
Longwell Company
14400 NE Bel-Red Road, Suite #204
Bellevue, WA 98007
Tel: 425-455-6660 X 101
    425-336-1124(direct)
Fax:425-455-6662
e-mail: Stanley.Xu@LongwellCompany.com
Web Site: www.longwellcompany.com

From: Gary Wong <GWong@axosbank.com>
Sent: Friday, May 17, 2024 9:10 AM
To: Stanley Xu <stanley.xu@longwellcompany.com>
Cc: Jing You <jing.you@longwellcompany.com>
Subject: FW: AMITY COURT LLC, A WASHINGTON LIMITED LLC - 90099031245

Stanley,

As indicated below, the statements have been going to the correct address. The statement for this month should
have been mailed yesterday, but Johana has attached the document for your review. Thanks

Gary

Gary Wong
IPL – Business Development Manager
Direct: 415-816-4858
gwong@axosbank.com
www.axosbank.com




From: Johana Jimenez <JJimenez@axosbank.com>
Sent: Friday, May 17, 2024 9:05 AM

                                                        1


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To: Gary Wong <GWong@axosbank.com>
Subject: RE: AMITY COURT LLC, A WASHINGTON LIMITED LLC - 90099031245

Good morning Gary,

We have the mailing address as:
AMITY COURT LLC, A WASHINGTON LIMITED LI
14400 NE BEL-RED ROAD, SUITE # 204
BELLEVUE WA 98007

Statements for June should have gone out yesterday but I attached a copy on here.

Johana Jimenez
Commercial Client Operations Supervisor
Direct: 877-351-2265 x1356
JJimenez@axosbank.com




From: Gary Wong <GWong@axosbank.com>
Sent: Friday, May 17, 2024 8:44 AM
To: Johana Jimenez <JJimenez@axosbank.com>
Subject: AMITY COURT LLC, A WASHINGTON LIMITED LLC - 90099031245
Importance: High

Johana,

This borrower is inquiring about his mortgage statement, as he has not been receiving the document. Can you
please tell me the address that the document is currently being sent to? Thanks

Gary


Gary Wong
IPL – Business Development Manager
Direct: 415-816-4858
gwong@axosbank.com
www.axosbank.com




From: Stanley Xu <stanley.xu@longwellcompany.com>
Sent: Thursday, May 16, 2024 10:28 AM
To: Gary Wong <GWong@axosbank.com>
Cc: Jing You <jing.you@longwellcompany.com>
Subject: Amity Court
Importance: High


Good morning, Gary,

I hope this email ﬁnds you well.
                                                                 2


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We still have not received the mortgage payment statement from AXOS Bank. We made a mortgage payment
5/7/2024 as shown in attached document, which I downloaded from AXOS online platform. Would you please
contact the asset management department of AXOS to ﬁnd out where they have sent the mortgage statement.

Thanks,

Stanley Xu
President
Longwell Company
14400 NE Bel-Red Road, Suite #204
Bellevue, WA 98007
Tel: 425-455-6660 X 101
    425-336-1124(direct)
Fax:425-455-6662
e-mail: Stanley.Xu@LongwellCompany.com
Web Site: www.longwellcompany.com

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                     EXHIBIT 2


25-00240-WLH11   Doc 14   Filed 02/24/25   Entered 02/24/25 18:45:47   Pg 114 of 127   E - 11
Stanley Xu

From:                              Stanley Xu
Sent:                              Wednesday, July 3, 2024 12:57 PM
To:                                Samuel Hendershot
Cc:                                Rachel Renteria; Gary Wong; Jing You
Subject:                           RE: Amity Court


Hi Samuel,

Would you please send me the mortgage payment statement to us so we can make a payment? We have never
received ANY mortgage payment statements for Amity Court.

Thanks,

Stanley Xu
Managing Member
Amity Court LLC
14400 NE Bel-Red Road, Suite #204
Bellevue, WA 98007
Tel: 425-455-6660 X 101
    425-336-1124(direct)
Fax:425-455-6662
e-mail: Stanley.Xu@LongwellCompany.com
Web Site: www.longwellcompany.com

From: Samuel Hendershot <SHendershot@axosbank.com>
Sent: Monday, June 10, 2024 12:05 PM
To: Stanley Xu <stanley.xu@longwellcompany.com>
Cc: Rachel Renteria <RRenteria@axosbank.com>; Gary Wong <GWong@axosbank.com>
Subject: RE: Amity Court

Hi Stanley – Following up on the ini al request for an update on payment as well as updated ﬁnancials.

Best,

Samuel Hendershot
CRE Portfolio Analyst
Direct: 877-351-2265 ext. 1690
SHendershot@axosbank.com
www.axosbank.com




From: Samuel Hendershot
Sent: Friday, May 31, 2024 10:50 AM
To: stanley.xu@longwellcompany.com
Cc: Rachel Renteria <RRenteria@axosbank.com>; Gary Wong <GWong@axosbank.com>
Subject: RE: Amity Court
                                                            1


        25-00240-WLH11           Doc 14   Filed 02/24/25        Entered 02/24/25 18:45:47       Pg 115 of 127   E - 12
Hi Stanley,

Following up on the below email.

Best,

Samuel Hendershot
CRE Portfolio Analyst
Direct: 877-351-2265 ext. 1690
SHendershot@axosbank.com
www.axosbank.com




From: Samuel Hendershot
Sent: Friday, May 24, 2024 12:03 PM
To: stanley.xu@longwellcompany.com
Cc: Rachel Renteria <RRenteria@axosbank.com>; Gary Wong <GWong@axosbank.com>
Subject: Amity Court

Hi Stanley,

Reaching out on behalf of Axos for a meline as to when we can expect the next interest payment. In addi on, please
provide copies of the most recent ﬁnancial statements for the guarantors and property.

We appreciate your a en on to this ma er.

Thank you,

Samuel Hendershot
CRE Portfolio Analyst
Direct: 877-351-2265 ext. 1690
SHendershot@axosbank.com
www.axosbank.com




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                     EXHIBIT 3


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Stanley Xu

From:                               Stanley Xu
Sent:                               Wednesday, July 10, 2024 1:31 PM
To:                                 Cassidy Rodgerson
Cc:                                 Jing You; Gary F. Wong
Subject:                            RE: Rent Roll Request [ ref:!00Di00KtrF.!5003o01j3qWo:ref ]

Importance:                         High


Hi Cassidy,

Would you please send us the mortgage payment coupon for Amity Cout LLC? We have not received any mortgage
coupon/statement since March of this year. We have asked for the coupon/statement several times before but
never received any. Please let me know if you can help.

Thanks,

Stanley Xu
Managing Member
Amity Court LLC
14400 NE Bel-Red Road, Suite #204
Bellevue, WA 98007
Tel: 425-455-6660 X 101
    425-336-1124(direct)
Fax:425-455-6662
e-mail: Stanley.Xu@LongwellCompany.com
Web Site: www.longwellcompany.com

From: Cassidy Rodgerson <Cassidy.Rodgerson@axosbank.com>
Sent: Wednesday, July 10, 2024 8:53 AM
To: Stanley Xu <stanley.xu@longwellcompany.com>
Subject: Re: Rent Roll Request [ ref:!00Di00KtrF.!5003o01j3qWo:ref ]

Good morning Stanley,

Confirming receipt of the rent roll. Thank you!

Best,

Cassidy Rodgerson

Special Assets Analyst

Office: 877-351-2265, ext. 1284

www.axosbank.com




                                                             1


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From: Stanley Xu <stanley.xu@longwellcompany.com>
Sent: Tuesday, July 9, 2024 10:36 PM
To: Cassidy Rodgerson <cassidy.rodgerson@axosbank.com>
Cc: Portfolio Management <portfoliomanagement@axosbank.com>
Subject: RE: Rent Roll Request [ ref:!00Di00KtrF.!5003o01j3qWo:ref ]

Hi Cassidy,

Attached please find the rent roll of Amity Court you requested for AXOS loan #90099031245 at 14400 NE
Bellevue-Redmond Rd, Bellevue, WA 98007. We do not have access of AXOS portal
https://portals.axosbank.com/. So we can only send the rent roll thru email.

Please confirm that you received this email with rent roll.

Thanks,

Stanley Xu
President
Longwell Company
14400 NE Bel-Red Road, Suite #204
Bellevue, WA 98007
Tel: 425-455-6660 X 101
    425-336-1124(direct)
Fax:425-455-6662
e-mail: Stanley.Xu@LongwellCompany.com
Web Site: www.longwellcompany.com

From: Portfolio Management <portfoliomanagement@axosbank.com>
Sent: Monday, July 8, 2024 12:43 PM
To: Stanley Xu <stanley.xu@longwellcompany.com>
Subject: Rent Roll Request [ ref:!00Di00KtrF.!5003o01j3qWo:ref ]

Hello,

My name is Cassidy from Axos Bank, and I am reaching out regarding your loan #90099031245 at 14400
NE Bellevue-Redmond Rd, Bellevue, WA 98007.
The Bank is requesting an updated Rent Roll for Full Year 2023. Pursuant to your loan documents, please
provide the most current Rent Roll as soon as possible.

See attached templates for your convenience. Should you have an existing form, please feel free to use
your existing forms.

Visit the link below to create an account or log in to your existing account and submit these documents
via our portal.
https://portals.axosbank.com/

Should you have any challenges logging in or creating an account, please contact our Portal Support
team at 858-206-8428 or commerciallendingservicing@axosbank.com


                                                              2


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Commercial Lending Services: (858) 206-8428
Hours of Operation: 8:00 am – 5:00 pm PST

Thank you,

Cassidy Rodgerson
Special Assets Analyst
Direct: 877-351-2265, X 1284
cassidy.rodgerson@axosbank.com
www.axosbank.com




ref:!00Di00KtrF.!5003o01j3qWo:ref CONFIDENTIALITY NOTICE: This e-mail message, including all
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                     EXHIBIT 4


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                                         Longwell Company
 14400 NE Bel-Red Rd, Suite 204                                                   Tel: (425)455-6660
 Bellevue, WA 98007                                                               Fax: (425)455-6662


July 15, 2024

Axos Bank
Loan Servicing
4350 La Jolla Village Drive, Suite 100
San Diego, CA 92122


Ref:   Extension Request for Loan #90099031245

Dear Sir/Madam,

On behalf of the Borrower, Amity Court LLC, this is a formal request for loan extension of Loan
#90099031245.

The Loan #90099031245 will be expired on October 1, 2024. Please extend the loan for one (1) year per
Section 4.5 of Secured Promissory Note dated 9/22/2021 between Axos Bank and Amity Court LLC.

Should you have any questions, please contact me.

Sincerely,




Stanley Xu
Managing Member
Amity Court LLC




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                     EXHIBIT 5


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AMITY COURT
14400 Northeast Bellevue-Redmond Road
Bellevue, Washington 98007

APPRAISAL REPORT
Date of Report: September 30, 2024
Colliers File #: SEA240464
Client File #: 24-000246-01
                         01-1 / 90099031245




PREPARED FOR                                                                                    PREPARED BY
Rachel Hoss                                                                           COLLIERS INTERNATIONAL
Axos Bank
P.O. Box 919008
                                                                               VALUATION & ADVISORY SERVICES
San Diego, CA 92122




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                                                                                                                   COLLIERS INTERNATIONAL
LETTER OF TRANSMITTAL                                                                                              VALUATION & ADVISORY SERVICES

                                                                                                                   601 Union Street, Suite 5300
                                                                                                                   Seattle, WA 98101 USA
                                                                                                                   MAIN +1 206 343 7477
                                                                                                                   FAX +1
                                                                                                                   WEB   www.colliers.com/valuationadvisory




September 30, 2024



  Rachel Hoss
  Axos Bank
  P.O. Box 919008
  San Diego, CA 92122




RE: Amity Court
    14400 Northeast Bellevue-Redmond Road
    Bellevue, Washington 98007

Colliers File #: SEA240464
Client File #: 24-000246-01-1 / 90099031245

Ms. Hoss:

This appraisal report satisfies the scope of work and requirements agreed upon by Axos Bank and Colliers
International Valuation & Advisory Services. At the request of the client, this appraisal is presented in an Appraisal
Report format as defined by USPAP Standards Rule 2-2(a). Our appraisal format provides a summary description
of the appraisal process, subject and market data and valuation analyses.
The purpose of this appraisal is to develop opinions of the As-Is Market Value of the subject property’s leased
fee interest. At the request of the client, we have also completed an Insurable Replacement Cost Estimate. The
following table conveys the final opinion of market value of the subject property that are developed within this
appraisal report. Note that the value conclusion is based on the property’s underlying land value, which exceeds
its value as improved.
                          VALUE TYPE                                 INTEREST APPRAISED                               DATE OF VALUE                                    VALUE
                      As-Is Market Value                                        Leased Fee                          September 18, 2024                              $7,780,000
                 OTHER CONCLUSIONS                                                    AS OF SEPTEMBER 18, 2024
               Insurable Replacement Cost                                                                                                                           $3,120,000

The subject is Amity Court, a multi-tenant low-rise office property totaling 16,796 SF of NRA located on a 0.99-
acre site at 14400 Northeast Bellevue-Redmond Road in Bellevue, Washington. The improvements were built in
1978, are in average condition and have a remaining economic life of 2 years based on our estimate.




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Property Consultants, an affiliation of independent companies with over 500+ offices throughout more than 68 countries worldwide.
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LETTER OF TRANSMITTAL
CONTINUED                                                                                                     SEA240464


The subject property has a multi-tenant design that is currently occupied by third-party tenants, and has a current
occupancy level of 78.0%. Although the subject has leases in place, our market value conclusion indicates that
the underlying land value currently exceeds that subject’s value as-improved. It is anticipated that the subject
property will be a candidate for redevelopment upon the expiration of its in-place leases (which extend through
July 2026 at the latest). As such, any future leasing in the subject is likely to be short-term. A stabilized occupancy
estimate is not relevant in this context.
The analyses, opinions and conclusions communicated within this appraisal report were developed based upon
the requirements and guidelines of the current Uniform Standards of Professional Appraisal Practice (USPAP),
the requirements of the Code of Professional Ethics and the Standards of Professional Appraisal Practice of the
Appraisal Institute. The report is intended to conform to the Financial Institutions Reform, Recovery and
Enforcement Act (FIRREA) standards.
The report, in its entirety, including all assumptions and limiting conditions, is an integral part of, and inseparable
from, this letter. USPAP defines an Extraordinary Assumption as, “an assignment specific-assumption as of the
effective date regarding uncertain information used in an analysis which, if found to be false, could alter the
appraiser’s opinions or conclusions”.  ”. USPAP defines a Hypothetical Condition as, “that which is contrary to what
is known by the appraiser to exist on the effective date of the assignment results, but is used for the purpose of
analysis”.
The Extraordinary Assumptions and/or Hypothetical Conditions that were made during the appraisal process to
arrive at our opinions of value are fully discussed below. We advise the client to consider these issues carefully
given the intended use of this appraisal, as their use might have affected the assignment results.
EXTRAORDINARY ASSUMPTIONS
This Appraisal Report is not contingent on any extraordinary assumptions.
HYPOTHETICAL CONDITIONS
This Appraisal Report is not contingent on any hypothetical conditions.
RELIANCE LANGUAGE
Our opinion of value reflects current conditions and the likely actions of market participants as of the date of
value. It is based on the available information gathered and provided to us, as presented in this report, and does
not predict future performance. Changing market or property conditions can and likely will have an effect on the
subject's value.




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LETTER OF TRANSMITTAL
CONTINUED                                                                                              SEA240464


The signatures below indicate our assurance to the client that the development process and extent of analysis
for this assignment adhere to the scope requirements and intended use of the appraisal. If you have any specific
questions or concerns regarding the attached appraisal report, or if Colliers International Valuation & Advisory
Services can be of additional assistance, please contact the individuals listed below.
Sincerely,
COLLIERS INTERNATIONAL
VALUATION & ADVISORY SERVICES




  Joseph Liss                                             Reid Erickson, MAI
  Valuation Specialist                                    Executive Managing Director
  Certified General Real Estate Appraiser                 Certified General Real Estate Appraiser
  State of Washington License #22003802                   State of Washington License #1100150
  +1 323 334 7958                                         +1 206 965 1106
  joseph.liss@colliers.com                                reid.erickson@colliers.com




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